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                      IN THE UNITED STATES DISTRICT COURT                                   5/7/2019
                     FOR THE WESTERN DISTRICT OF VIRGINIA
                                      LYNCHBURG DIVISION

 CEDRICK EURON DRAPER,
                                                     CASE NO. 6:19-cv-00002
                                     Plaintiff,

                       v.                            ORDER


 U.S. DEPARTMENT OF HOUSING & URBAN                  JUDGE NORMAN K. MOON
 DEVELOPMENT, ET AL.
                             Defendants.


       Plaintiff originally filed this pro se action against Defendants in the District of Columbia,

(dkt. 1), and the case was later transferred to the Western District of Virginia. (Dkt. 6). Plaintiff

subsequently filed a motion for “voluntary non-suit,” which the Court will construe as a motion

for voluntary dismissal pursuant to Fed. R. Civ. P. 41(a)(1)(A)(i). (Dkt. 10). Because Plaintiff

has moved for voluntary dismissal before any opposing party has served an answer or filed a

motion for summary judgment, dismissal without a court order pursuant to Rule 41(a)(1)(A)(i) is

appropriate. The Clerk of the Court is hereby directed to mark this case as dismissed pursuant to

Rule 41(a)(1)(A)(i) and to strike the case from this Court’s active docket.

       It is so ORDERED.

       The Clerk of the Court is hereby directed to send a certified copy of this Order to Plaintiff

and all counsel of record.

       Entered this _____
                     7th day of May, 2019.
